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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                              GENERAL ORDER 18-0028
                  GENERAL ORDER HOLDING IN ABEYANCE
          CIVIL MATTERS INVOLVING THE UNITED STATES AS A PARTY
       This matter is before the Court due to the lapse of congressional appropriations funding
the federal government, including the Department of Justice and the United States Attorney’s
Office. Absent an appropriation, the United States represents that certain Department of Justice
attorneys and employees of the federal government are prohibited from working, even on a
voluntary basis, except in very limited circumstances, including “emergencies involving the
safety of human life or the protection of property.” 31 U.S.C. § 1342. Therefore, the lapse in
appropriations requires a reduction in the workforce of the United States Attorney’s Office and
other federal agencies, particularly with respect to prosecution and defense of civil cases. The
Court, in response, and with the intent to avoid any default or prejudice to the United States or
other civil litigants occasioned by the lapse in funding, sua sponte enters this General Order. As a
result of the cited workforce reductions, it is hereby
       ORDERED, effective December 26, 2018, that all civil litigation involving as a party the
United States of America, its agencies, its officers or employees (whether in their individual or
official capacity and whether current or former employees), and/or any other party represented
by the Department of Justice or the United States Attorney’s Office is immediately suspended,
postponed and held in abeyance continuing for a period of fourteen (14) days from the date of
entry of this General Order. The Court may renew or modify this General Order depending on
developments in the stay period. The Court intends “civil litigation” to include all pending non-
criminal cases in which the United States, its agencies, its officers or employees (whether in their
individual or official capacity and whether current or former employees) is in any way a named
party and any non-criminal cases in which the United States Attorney’s Office or the Department
of Justice is counsel of record. This includes, without limitation, all pending Social Security
cases and all cases seeking monetary or equitable relief in which the United States is involved as
a civil litigant. The General Order does not affect habeas corpus cases pending or filed under
Chapter 153 of Title 28.
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          This General Order suspends and continues, during the stay, any and all events and
deadlines in the affected civil litigation (whether established by order, rule, or agreement),
including but not limited to any scheduled proceedings, hearings, and/or discovery and pleading
dates. No party will be required to take any steps in civil litigation affected until expiration of the
stay. The Court warns litigants that this General Order does not purport to affect rights to or
deadlines concerning appeal from any decision of this Court, which will continue to operate and
issue orders in the normal course.
          Any litigant affected by this General Order may seek relief from the order by motion. The
Court may, in any particular case, vary the effect or operation of this General Order by a separate
ruling.
          The Court shall distribute this General Order:
                 (a) by electronic service to all registered CM/ECF users;
                 (b) by first-class mail to unregistered civil litigants, including pro se litigants, and
                     to attorneys pending pro hac vice admission; and
                 (c) by posting the General Order on the Court’s public website.
          The Court shall clarify the status of case schedules upon expiration of the stay and
dependent on the timing of the funding resolution.


                                 ENTER:
                                 FOR THE COURT




                                 Rubén Castillo
                                 Chief District Judge


Dated at Chicago, Illinois this 26th day of December, 2018




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